
Court of Claims jurisdiction. — This case comes before the court on defendant’s motion for summary judgment. Upon consideration thereof, without oral argument, it appearing to this court that plaintiff’s petition asserts a claim that prison employees were negligent in the care and treatment of the injury sustained by him, which may be construed as falling outside the scope of 18 U.S.C. § 4126, on January 7, 1972, the court, by order, and on the basis of 28 U.S.C. § 1506, denied defendant’s motion and concluded that plaintiff’s case be transferred to the United States District Court for the Eastern District of California at Sacramento, California. The court directed the clerk of court to forward to the clerk of said district court a certified copy of the record made here.
